   Case 3:03-cr-00153-CC         Document 341    Filed 04/28/06    Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
 Plaintiff
 vs.                                            CRIMINAL 03-0153CCC
 1) JOSE ALMONTE-PEÑA
 a/k/a Joselito, a/k/a Compadrito
 Counts 1, 2, and 3
 2) MATEO JUAN HOLGUIN-OVALLE
 a/k/a El Don
 Count 2
 3) MANUEL ANTONIO PAULINO
 a/k/a Campi, a/k/a Capi
 Counts 2, 3 and 4
 4) JEROVIN EDUARDO UBIERA
 a/k/a Jevo
 Counts 1 and 2
 5) MIGUEL MENDEZ-ROJAS
 Counts 1 and 2
 6) ANGEL R. GARCIA
 a/k/a Rene
 Counts 1, 2, 3 and 4
 7) RAFAEL INOA SANTANA
 a/k/a Felo
 Count 1
 8) CARLOS JACA-NAZARIO
 a/k/a Jaca
 Counts 1and 3
 Defendants

                                         ORDER
        Before the Court are the Sealed1 Objections to Pre-Sentence Report filed by defendant
José A. Almonte-Peña on March 15, 2006 (docket entry 327), and its attachments.
Defendant has raised both factual and legal objections. Having reviewed them, the Court RULES
as follows:




        1
             Defendant’s Motion Filing Documents Under Seal (docket entry 326) is GRANTED.
   Case 3:03-cr-00153-CC          Document 341       Filed 04/28/06   Page 2 of 3




CRIMINAL 03-0153CCC                              2


          - FACTUAL OBJECTIONS:
          Factual objections 1 and 4 have been resolved, as reflected in the Pre-Sentence Report
(PSR) that was filed with the Court (docket entry 329), so they have turned MOOT.
          As to factual objection 2, it seeks that ¶7 at page 2 of the PSR be amended so that co-
defendant Rafael Inoa be identified as the owner of the 1,000 kilograms of cocaine that arrived
to Puerto Rico on April 1, 2003, of which 153 kilograms were seized by Enforcement Group
I on April 2, 2003. Given ¶8 at p. 2 of the PSR, which remains undisputed, and where it is
established that defendant Almonte-Peña brokered at least 153 kilograms of cocaine, the
correction requested to ¶7 is irrelevant for purposes of sentencing and is OVERRULED.
          Regarding factual objection 3, through which defendant objects his description as the
owner of 30 kilograms of cocaine seized as made in ¶10, p. 3 of the PSR, the U.S. Probation
Officer shall submit to the Court by MAY 8, 2006 the evidence she has to support that
assertion since it is contrary to the information contained in ¶17 of the D.E.A. Report of
Investigation prepared on July 13, 2004 (Exhibit 1 of defendant’s Sealed Objections).
          - LEGAL OBJECTIONS:
          As to legal objection 1, the failure of the PSR to identify as a ground for a downward
departure defendant’s assistance to prison authorities while on pretrial detention, the United
States shall respond by MAY 8, 2006 to defendant’s claim for a U.S.S.G. §5K2.0 departure
based on the conduct described at page 4 of the Sealed Objections.
          Regarding legal objection 2, which challenges the two-level upward adjustment for a
managerial role applied under U.S.S.G. §3B1.1(c), the U.S. Probation Officer shall submit
to the Court by May 8, 2006 the materials which contain the information obtained from
phone calls which allegedly show that defendant coordinated, gave instructions and controlled
others.
          Legal objection 3, which requests a two-level downward adjustment under U.S.S.G.
§2D1.1(b)(7) for compliance with the “safety valve” provisions, is subject to the determination
   Case 3:03-cr-00153-CC       Document 341        Filed 04/28/06    Page 3 of 3




CRIMINAL 03-0153CCC                            3


of whether the leadership enhancement shall be applied. See U.S.S.G. §5C1.2(a)(4). In any
event, the United States shall inform by May 8, 2006 if defendant complied with the fifth
prong of the “safety valve.” See U.S.S.G. §5C1.2(a)(5).
       Defendant’s legal objection 4, which contests the base offense level of 38 applied to him
under U.S.S.G. §2D1.1(c), is OVERRULED. The undisputed information contained in ¶8, p.
2 of the PSR regarding defendant’s responsibility for at least 153 kilograms of cocaine in the
conspiracy charged is enough to trigger the application of the base offense level of 38.
Furthermore, the Court NOTES that the base offense level of 36 applied to co-defendant Rafael
Inoa was based on the drug amount stipulated in the Plea Agreement which he entered (docket
entry 290), while movant entered a straight plea. The contractual element of Mr. Inoa’s plea
removes him as a defendant similarly situated to defendant Almonte-Peña in that sense.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 27, 2006.


                                                   S/CARMEN CONSUELO CEREZO
                                                   United States District Judge
